     Case 2:24-cv-01807-JFW-AS Document 1 Filed 03/06/24 Page 1 of 12 Page ID #:1



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 5
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 6   JUAN VALENCIA
 7
 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
     JUAN VALENCIA,                            Case No.:
11
                  Plaintiff,                   COMPLAINT FOR INJUNCTIVE
12                                             RELIEF AND DAMAGES FOR DENIAL
           vs.                                 OF CIVIL RIGHTS OF A DISABLED
13                                             PERSON IN VIOLATIONS OF
14                                             1. AMERICANS WITH DISABILITIES
     TOOL SHACK, INC.; LYNN HASKELL,           ACT, 42 U.S.C. §12131 et seq.;
15
     AS TRUSTEE OF THE HASKELL                 2. CALIFORNIA’S UNRUH CIVIL
16                                             RIGHTS ACT;
     FAMILY TRUST; and DOES 1 to 10,
17                Defendants.                  3. CALIFORNIA’S DISABLED
                                               PERSONS ACT;
18
                                               4. CALIFORNIA HEALTH & SAFETY
19                                             CODE;
20                                             5. NEGLIGENCE
21
22
23
24         Plaintiff JUAN VALENCIA (“Plaintiff”) complains of Defendants TOOL
25   SHACK, INC.; LYNN HASKELL, AS TRUSTEE OF THE HASKELL FAMILY
26   TRUST; and DOES 1 to 10 (“Defendants”) and alleges as follows:
27   //
28   //



                                        COMPLAINT - 1
     Case 2:24-cv-01807-JFW-AS Document 1 Filed 03/06/24 Page 2 of 12 Page ID #:2




 1                                             PARTIES
 2            1.   Plaintiff is a California resident with a physical disability. Plaintiff suffers
 3   from paraplegia due to T11 and T12 spinal cord injury with fracture which substantially
 4   limits his ability to walk. Plaintiff requires the use of a wheelchair at all times when
 5   traveling in public.
 6            2.   Defendants are, or were at the time of the incident, the real property owners,
 7   business operators, lessors and/or lessees of the real property for a tool store (“Business”)
 8   located at or about 229 S. Glendale Ave., Glendale, California.
 9            3.   The true names and capacities, whether individual, corporate, associate or
10   otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
11   who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
12   Court to amend this Complaint when the true names and capacities have been
13   ascertained. Plaintiff is informed and believes, and, based thereon, alleges that each such
14   fictitiously named Defendants are responsible in some manner, and therefore, liable to
15   Plaintiff for the acts herein alleged.
16            4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
17   times, each of the Defendants was the agent, employee, or alter-ego of each of the other
18   Defendants, and/or was acting in concert with each of the other Defendants, and in doing
19   the things alleged herein was acting with the knowledge and consent of the other
20   Defendants and within the course and scope of such agency or employment relationship.
21            5.   Whenever and wherever reference is made in this Complaint to any act or
22   failure to act by a defendant or Defendants, such allegations and references shall also be
23   deemed to mean the acts and failures to act of each Defendant acting individually, jointly
24   and severally.
25                                 JURISDICTION AND VENUE
26            6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
27   1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
28   seq.).



                                              COMPLAINT - 2
     Case 2:24-cv-01807-JFW-AS Document 1 Filed 03/06/24 Page 3 of 12 Page ID #:3




 1         7.     Pursuant to pendant jurisdiction, attendant and related causes of action,
 2   arising from the same nucleus of operating facts, are also brought under California law,
 3   including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 4   54, 54., 54.3 and 55.
 5         8.     Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.
 6         9.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 7   property which is the subject of this action is located in this district, Los Angeles County,
 8   California, and that all actions complained of herein take place in this district.
 9                                     FACTUAL ALLEGATIONS
10         10.    In or about December of 2023, Plaintiff went to the Business.
11         11.    The Business is a tool store business establishment, open to the public, and
12   is a place of public accommodation that affects commerce through its operation.
13   Defendants provide parking spaces for customers.
14         12.    While attempting to enter the Business during each visit, Plaintiff personally
15   encountered a number of barriers that interfered with his ability to use and enjoy the
16   goods, services, privileges, and accommodations offered at the Business.
17         13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
18   included, but were not limited to, the following:
19                a.     Defendants failed to comply with the federal and state standards for
20                       the parking space designated for persons with disabilities. Defendants
21                       failed to provide proper van accessible space designated for the
22                       persons with disabilities as there were no “NO PARKING” markings
23                       painted on the parking surface. Additionally, the blue hatched lines
24                       and blue borderlines painted on the surface of the pavement were so
25                       severely faded that it was difficult to recognize there was even an
26                       accessible aisle present at all.
27                b.     Defendants failed to comply with the federal and state standards for
28                       the parking space designated for persons with disabilities. Defendants



                                            COMPLAINT - 3
     Case 2:24-cv-01807-JFW-AS Document 1 Filed 03/06/24 Page 4 of 12 Page ID #:4




 1                       failed to properly mark the space with the International Symbol of
 2                       Accessibility, as the symbol fails to meet the minimum width
 3                       requirements. Additionally, it is not properly positioned within the
 4                       space.
 5                c.     Defendants failed to comply with the federal and state standards for
 6                       the parking space designated for persons with disabilities. The height
 7                       of the posted required signages was lower than the height allowed by
 8                       the standards.
 9         14.    These barriers and conditions denied Plaintiff full and equal access to the
10   Business and caused Plaintiff difficulty and frustration. Plaintiff wishes to return and
11   patronize the Business; however, Plaintiff is deterred from visiting the Business because
12   his knowledge of these violations prevents him from returning until the barriers are
13   removed.
14         15.    Based on the violations, Plaintiff alleges, on information and belief, that
15   there are additional barriers to accessibility at the Business after further site inspection.
16   Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
17   Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
18         16.    In addition, Plaintiff alleges, on information and belief, that Defendants
19   knew that particular barriers render the Business inaccessible, violate state and federal
20   law, and interfere with access for the physically disabled.
21         17.    At all relevant times, Defendants had and still have control and dominion
22   over the conditions at this location and had and still have the financial resources to
23   remove these barriers without much difficulty or expenses to make the Business
24   accessible to the physically disabled in compliance with ADDAG and Title 24
25   regulations. Defendants have not removed such barriers and have not modified the
26   Business to conform to accessibility regulations.
27   //
28   //



                                            COMPLAINT - 4
     Case 2:24-cv-01807-JFW-AS Document 1 Filed 03/06/24 Page 5 of 12 Page ID #:5




 1                                    FIRST CAUSE OF ACTION
 2          VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
 3         18.    Plaintiff incorporates by reference each of the allegations in all prior
 4   paragraphs in this complaint.
 5         19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
 6   shall be discriminated against on the basis of disability in the full and equal enjoyment of
 7   the goods, services, facilities, privileges, advantages, or accommodations of any place of
 8   public accommodation by any person who owns, leases, or leases to, or operates a place
 9   of public accommodation. See 42 U.S.C. § 12182(a).
10         20.    Discrimination, inter alia, includes:
11                a.    A failure to make reasonable modification in policies, practices, or
12                      procedures, when such modifications are necessary to afford such
13                      goods, services, facilities, privileges, advantages, or accommodations
14                      to individuals with disabilities, unless the entity can demonstrate that
15                      making such modifications would fundamentally alter the nature of
16                      such goods, services, facilities, privileges, advantages, or
17                      accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
18                b.    A failure to take such steps as may be necessary to ensure that no
19                      individual with a disability is excluded, denied services, segregated or
20                      otherwise treated differently than other individuals because of the
21                      absence of auxiliary aids and services, unless the entity can
22                      demonstrate that taking such steps would fundamentally alter the
23                      nature of the good, service, facility, privilege, advantage, or
24                      accommodation being offered or would result in an undue burden. 42
25                      U.S.C. § 12182(b)(2)(A)(iii).
26                c.    A failure to remove architectural barriers, and communication barriers
27                      that are structural in nature, in existing facilities, and transportation
28                      barriers in existing vehicles and rail passenger cars used by an



                                           COMPLAINT - 5
     Case 2:24-cv-01807-JFW-AS Document 1 Filed 03/06/24 Page 6 of 12 Page ID #:6




 1                       establishment for transporting individuals (not including barriers that
 2                       can only be removed through the retrofitting of vehicles or rail
 3                       passenger cars by the installation of a hydraulic or other lift), where
 4                       such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
 5                d.     A failure to make alterations in such a manner that, to the maximum
 6                       extent feasible, the altered portions of the facility are readily
 7                       accessible to and usable by individuals with disabilities, including
 8                       individuals who use wheelchairs or to ensure that, to the maximum
 9                       extent feasible, the path of travel to the altered area and the
10                       bathrooms, telephones, and drinking fountains serving the altered
11                       area, are readily accessible to and usable by individuals with
12                       disabilities where such alterations to the path or travel or the
13                       bathrooms, telephones, and drinking fountains serving the altered area
14                       are not disproportionate to the overall alterations in terms of cost and
15                       scope. 42 U.S.C. § 12183(a)(2).
16         21.    Where parking spaces are provided, accessible parking spaces shall be
17   provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
18   eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
19   (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
20   Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
21   be a van accessible parking space. 2010 ADA Standards § 208.2.4.
22         22.    For the parking spaces, access aisles shall be marked with a blue painted
23   borderline around their perimeter. The area within the blue borderlines shall be marked
24   with hatched lines a maximum of 36 inches (914 mm) on center in a color contrasting
25   with that of the aisle surface, preferably blue or white. The words "NO PARKING" shall
26   be painted on the surface within each access aisle in white letters a minimum of 12 inches
27   (305 mm) in height and located to be visible from the adjacent vehicular way. CBC §
28   11B-502.3.3.



                                            COMPLAINT - 6
     Case 2:24-cv-01807-JFW-AS Document 1 Filed 03/06/24 Page 7 of 12 Page ID #:7




 1         23.      Here, Defendants failed to provide a proper access aisle as there were no
 2   “NO PARKING” markings painted on the parking surface. Additionally, the blue
 3   borderlines and blue hatched lines were so severely deteriorated it was difficult to
 4   determine the presence of an access aisle.
 5         24.      The surface of each accessible car and van space shall have surface
 6   identification complying with either of the following options: The outline of a profile
 7   view of a wheelchair with occupant in white on a blue background a minimum 36” wide
 8   by 36” high (914 mm x 914 mm). The centerline of the profile view shall be a maximum
 9   of 6 inches (152 mm) from the centerline of the parking space, its sides parallel to the
10   length of the parking space and its lower side or corner aligned with the end of the
11   parking space length or by outlining or painting the parking space in blue and outlining
12   on the ground in white or a suitable contrasting color a profile view of a wheel chair with
13   occupant. See CBC § 11B-502.6.4, et seq.
14         25.      Here, Defendants failed to properly paint the International Symbol of
15   Accessibility on the surface as required, as the symbol failed to meet the minimum width
16   requirements. Additionally, the centerline of the profile view failed to be within 6 inches
17   of the centerline of the parking space.
18         26.      Signs shall be 60 inches (1525 mm) minimum above the finish floor or
19   ground surface measured to the bottom of the sign. 2010 ADA Standards § 502.6.
20         27.      Here, Defendants failed to post signage at the required minimum height of
21   60 inches above the finish floor or ground surface measured to the bottom of the sign.
22         28.      A public accommodation shall maintain in operable working condition those
23   features of facilities and equipment that are required to be readily accessible to and usable
24   by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).
25         29.      By failing to maintain the facility to be readily accessible and usable by
26   Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
27   regulations.
28




                                             COMPLAINT - 7
     Case 2:24-cv-01807-JFW-AS Document 1 Filed 03/06/24 Page 8 of 12 Page ID #:8




 1         30.    The Business has denied and continues to deny full and equal access to
 2   Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
 3   discriminated against due to the lack of accessible facilities, and therefore, seeks
 4   injunctive relief to alter facilities to make such facilities readily accessible to and usable
 5   by individuals with disabilities.
 6                                 SECOND CAUSE OF ACTION
 7                   VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
 8         31.    Plaintiff incorporates by reference each of the allegations in all prior
 9   paragraphs in this complaint.
10         32.    California Civil Code § 51 states, “All persons within the jurisdiction of this
11   state are free and equal, and no matter what their sex, race, color, religion, ancestry,
12   national origin, disability, medical condition, genetic information, marital status, sexual
13   orientation, citizenship, primary language, or immigration status are entitled to the full
14   and equal accommodations, advantages, facilities, privileges, or services in all business
15   establishments of every kind whatsoever.”
16         33.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
17   or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
18   for each and every offense for the actual damages, and any amount that may be
19   determined by a jury, or a court sitting without a jury, up to a maximum of three times the
20   amount of actual damage but in no case less than four thousand dollars ($4,000) and any
21   attorney’s fees that may be determined by the court in addition thereto, suffered by any
22   person denied the rights provided in Section 51, 51.5, or 51.6.
23         34.    California Civil Code § 51(f) specifies, “a violation of the right of any
24   individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
25   shall also constitute a violation of this section.”
26         35.    The actions and omissions of Defendants alleged herein constitute a denial
27   of full and equal accommodation, advantages, facilities, privileges, or services by
28   physically disabled persons within the meaning of California Civil Code §§ 51 and 52.



                                             COMPLAINT - 8
     Case 2:24-cv-01807-JFW-AS Document 1 Filed 03/06/24 Page 9 of 12 Page ID #:9




 1   Defendants have discriminated against Plaintiff in violation of California Civil Code §§
 2   51 and 52.
 3         36.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
 4   difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
 5   damages as specified in California Civil Code §55.56(a)-(c).
 6                                 THIRD CAUSE OF ACTION
 7                VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
 8         37.    Plaintiff incorporates by reference each of the allegations in all prior
 9   paragraphs in this complaint.
10         38.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
11   entitled to full and equal access, as other members of the general public, to
12   accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
13   and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
14   railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
15   of transportation (whether private, public, franchised, licensed, contracted, or otherwise
16   provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
17   places of public accommodations, amusement, or resort, and other places in which the
18   general public is invited, subject only to the conditions and limitations established by
19   law, or state or federal regulation, and applicable alike to all persons.
20         39.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
21   corporation who denies or interferes with admittance to or enjoyment of public facilities
22   as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
23   individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
24   the actual damages, and any amount as may be determined by a jury, or a court sitting
25   without a jury, up to a maximum of three times the amount of actual damages but in no
26   case less than one thousand dollars ($1,000) and any attorney’s fees that may be
27   determined by the court in addition thereto, suffered by any person denied the rights
28   provided in Section 54, 54.1, and 54.2.



                                            COMPLAINT - 9
     Case 2:24-cv-01807-JFW-AS Document 1 Filed 03/06/24 Page 10 of 12 Page ID #:10




 1          40.    California Civil Code § 54(d) specifies, “a violation of the right of an
 2    individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
 3    constitute a violation of this section, and nothing in this section shall be construed to limit
 4    the access of any person in violation of that act.
 5          41.    The actions and omissions of Defendants alleged herein constitute a denial
 6    of full and equal accommodation, advantages, and facilities by physically disabled
 7    persons within the meaning of California Civil Code § 54. Defendants have
 8    discriminated against Plaintiff in violation of California Civil Code § 54.
 9          42.    The violations of the California Disabled Persons Act caused Plaintiff to
10    experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
11    statutory damages as specified in California Civil Code §55.56(a)-(c).
12                                 FOURTH CAUSE OF ACTION
13                 CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
14          43.    Plaintiff incorporates by reference each of the allegations in all prior
15    paragraphs in this complaint.
16          44.    Plaintiff and other similar physically disabled persons who require the use of
17    a wheelchair are unable to use public facilities on a “full and equal” basis unless each
18    such facility is in compliance with the provisions of California Health & Safety Code §
19    19955 et seq. Plaintiff is a member of the public whose rights are protected by the
20    provisions of California Health & Safety Code § 19955 et seq.
21          45.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
22    that public accommodations or facilities constructed in this state with private funds
23    adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
24    Title 1 of the Government Code. The code relating to such public accommodations also
25    require that “when sanitary facilities are made available for the public, clients, or
26    employees in these stations, centers, or buildings, they shall be made available for
27    persons with disabilities.
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                                            COMPLAINT - 10
     Case 2:24-cv-01807-JFW-AS Document 1 Filed 03/06/24 Page 11 of 12 Page ID #:11




 1           46.    Title II of the ADA holds as a “general rule” that no individual shall be
 2    discriminated against on the basis of disability in the full and equal enjoyment of goods
 3    (or use), services, facilities, privileges, and accommodations offered by any person who
 4    owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
 5    Further, each and every violation of the ADA also constitutes a separate and distinct
 6    violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
 7    award of damages and injunctive relief pursuant to California law, including but not
 8    limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
 9                                    FIFTH CAUSE OF ACTION
10                                          NEGLIGENCE
11           47.    Plaintiff incorporates by reference each of the allegations in all prior
12    paragraphs in this complaint.
13           48.    Defendants have a general duty and a duty under the ADA, Unruh Civil
14    Rights Act and California Disabled Persons Act to provide safe and accessible facilities
15    to the Plaintiff.
16           49.    Defendants breached their duty of care by violating the provisions of ADA,
17    Unruh Civil Rights Act and California Disabled Persons Act.
18           50.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
19    has suffered damages.
20                                      PRAYER FOR RELIEF
21           WHEREFORE, Plaintiff respectfully prays for relief and judgment against
22    Defendants as follows:
23           1.     For preliminary and permanent injunction directing Defendants to comply
24    with the Americans with Disability Act and the Unruh Civil Rights Act;
25           2.     Award of all appropriate damages, including but not limited to statutory
26    damages, general damages and treble damages in amounts, according to proof;
27           3.     Award of all reasonable restitution for Defendants’ unfair competition
28    practices;



                                             COMPLAINT - 11
     Case 2:24-cv-01807-JFW-AS Document 1 Filed 03/06/24 Page 12 of 12 Page ID #:12




 1          4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
 2    action;
 3          5.     Prejudgment interest pursuant to California Civil Code § 3291; and
 4          6.     Such other and further relief as the Court deems just and proper.
 5                               DEMAND FOR TRIAL BY JURY
 6          Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
 7    demands a trial by jury on all issues so triable.
 8
 9    Dated: March 6, 2024                    SO. CAL. EQUAL ACCESS GROUP
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11                                            By:    _/s/ Jason J. Kim___________
                                                     Jason J. Kim, Esq.
12                                                   Attorneys for Plaintiff
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                                            COMPLAINT - 12
